Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 1 of 24

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

)
In rec ) Chapter 11

)
J & M SALES INC., et al., ) Case No. 18-11801 t )

)

Debtors.l ) Joint Administration Requested

)

MOTION OF DEBTORS FOR ENTRY ()F INTERIM AND
FINAL ORDERS (A) AUTHORIZING THE DEBTORS TO OBTAIN
POSTPETITION CREDIT FROM CRITICAL VENDORS; (B) APPROVING
CRITICAL VENDOR PROGRAM AND GRANTING OF JUNI()R LIENS 'I`O
CRITICAL VENDORS; (C) AUTHORIZING BANKS TO HONOR AND
PROCESS RELATED CHECKS AND ELECTRONIC TRANSFERS; (D)
SCHEDULING FINAL HEARING; AND (E) GRANTING RELATED RELIEF

 

By this l\/lotion (this “Motion”), J & l\/l Sales Inc. and its affiliated debtors in the
above-captioned chapter ll cases (the “Chapter 11 Cases”), as debtors and debtors in
possession (“Debtors”), request the entry of interim and final orders, substantially in the forms
attached hereto as Exhibit A and Exhibit B, respectively (the “Proposed
Orders”): (a) authorizing the Debtors to provide for payment terms of both prepetition and
postpetition claims of certain Critical Vendors (as defined below) and to incur postpetition credit
up to $4() million, on a final basis, from the Debtors’ Critical Vendors through the delivery of
postpetition goods to the Debtors pursuant to the terms of the Debtors’ critical vendor program
described below (the “Critical Vendor Program”); (b) approving the terms of the Critical

Vendor Pro gram as provided herein and granting the Critical Vendors the Critical Vendor Liens

 

1 The Debtors in these Chapter ll cases, along with the last four digits of each Debtor’s federal tax identification
number, are: J & M Sales Inc. (4697); National Stores, lnc. (4874); J&M Sales of Texas, LLC (5979); FP Stores,
Inc. (6795); Southem lsland Stores, LLC (8099); Southern Island Retail Stores LLC (4237); Caribbean Island
Stores, LLC (9301); Pazzo FNB Corp. (9870); Fallas Stores Holdings, lnc. (6052); and Pazzo Management LLC
(1924). The Debtors’ mailing address is 15001 South Figueroa Street, Gardena, CA 90248.

DOCS_DE:220490. 13 59942/00l

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 2 of 24

(defined beloW) on account of the entirety of their postpetition critical vendor claims and a
portion of their prepetition critical vendor claims and vvhich liens vvould be junior and
subordinated (the “Junior Liens”) to the liens of any debtor in possession lender, any adequate
protection liens, the existing liens of the Debtors’ prepetition senior secured lenders, and any
carve out for professional fees provided under the DIP Order (defined below); (c) approving the
form of Critical Vendor Agreement (as defined below), (d) authorizing financial institutions to
honor and process related checks and transfers; (e) scheduling a final hearing on the Motion to
approve the Critical Vendor Program; and (f) granting any additional relief as is necessary to
effectuate the foregoing In support of this Motion, the Debtors submit the Declaratz`on ofCurZ
Kroll in Support of Chapter ] ] Pez‘z`l‘z`ons and First Day Motions (the “Kroll Declaration”) and
the Declaralz'on ofMarc Bz`lbao in Support QfDebrorS ’ Motions With Respecl to D]P Financz'ng,
Crz`z‘z'cal Vendors and Store Closz'ngs (the “Bilbao Declaration), and respectfully represent as
folloWs:
Preliminal_'y Statement

The Debtors’ Critical Vendors have agreed to something extraordinary in these
cases: they have agreed to provide goods on 120-day terms to enable the Debtors to operate their
business and remain in chapter ll in order to attempt to effectuate either a restructuring or going
concern sale of their assets.

Obtaining the postpetition trade credit from the Debtors’ critical vendors proposed

by the Motion is a critical component of the Debtors’ proposed debtor in possession financing

DOCS_DE:220490.13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 3 of 24

agreement with their lenders and is necessary for the Debtors to continue operations and pursue
either a restructuring or sale transaction with respect to their business

Typically in chapter ll cases, vendors may agree to do business with debtors
either pursuant restrictive cash-on-delivery terms or on extremely short and onerous trade terms,
Here, the Debtors’ Critical Vendors have agreed to extend credit to provide postpetition goods
and to allow the Debtors four months to pay for goods delivered postpetition in order to allow
the Debtors to have sufficient capital to operate and to administer their chapter ll cases.
Moreover, the Critical Vendors have agreed to do this even though only a portion of their
prepetition claims will be paid pursuant to this Motion. The Debtors believe the ability to
operate under chapter ll and attempt to either restructure or effectuate a going concern sale of
their assets is in the best interests of their creditors, and a far better alternative than immediately
liquidating if the Debtors cannot obtain the necessary postpetition credit pursuant to this Motion.
The Debtors’ ability to continue to operate under chapter ll is entirely premised on the funding
provided under this l\/Iotion. Simply put, if the Debtors are unable to obtain the postpetition
credit from their Critical Vendors pursuant to this Motiori, the Debtors will not have sufficient
funds to continue to operate their business. Therefore, it is critical for the Debtors and their
economic constituents that the l\/Iotion be granted.

Jurisdiction and Venue
1. This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standl'ng Ora’er ofReference from the United States District

DOCS*DE:220490. 13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 4 of 24

Court for the District of Delaware, dated February 29, 2012. Venue is proper before this Court
pursuant to 28 U.S.C. §§ 1408 and 1409.

2. This is a core proceeding pursuant to 28 U.S.C. § 157(b) and, pursuant to
Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the United States
Bankruptcy Court for the District of Delaware (the “Local Rules”), the Debtors consent to the
entry of a final order by the Court in connection with this l\/lotion to the extent that it is later
determined that the Court, absent consent of the parties, cannot enter final orders or judgments
consistent with Article 111 of the United States Constitution.

3. The statutory bases for the relief requested herein are sections 105(a), 361,
362, 363, 364, and 507(a) of title 11 of the United States Code (the “Bankruptcy Code”), Rules
6003, 6004, and 9013 of the Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”)
and Local Rules 4001-2 and 9013-1(f).

§MLM!_£!

4. On the date hereof (the “Petition Date”), each Debtor commenced with
this Court a voluntary case under chapter 11 of the Bankruptcy Code. The Debtors continue to
operate their businesses and manage their properties as debtors in possession pursuant to sections
1107(a) and 1108 of the Bankruptcy Code. No request has been made for the appointment of a
trustee or examiner, and no official committee(s) has been appointed in these cases.

5. The Debtors are leading discount retailers offering brand-name clothing
for men, women, boys, girls, juniors, infants, and toddlers along with lingerie, shoes, toys, and

household items. The Debtors’ business was started in 1962 in a single location in downtown

DOCSHDE:22049O.13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 5 of 24

Los Angeles. The company has been family owned and operated for 56 years and now operates
340 stores in 22 states and Puerto Rico and employs over 9,800 people.

6. The Debtors offer a broad selection of value~priced merchandise,
including apparel, bedding, household supplies, décor items, and other general merchandise The
Debtors’ stores support underserved, low~income communities and are typically located in
power-strip centers, specialty centers, and downtown areas.

7. A more detailed description of the Debtors’ business and operations, and
the events leading to the commencement of these Chapter 11 Cases is provided in the Kroll
Declaration and a description of the Critical Vendor Program is described in the Bilbao
Declaration, each of which are each incorporated herein by reference

Relief Reguested

8. By this Motion, the Debtors seek entry of interim and final orders
authorizing but not directing the Debtors, in their sole discretion and subject to and in accordance
with any orders authorizing postpetition financing and the use of cash collateral and the
applicable budget thereunder, to enter into agreements providing for certain payment terms to
certain designated vendors (the “Critical Vendors”). The Debtors also seek (a) authority to
obtain postpetition credit from the Critical Vendors of up to $15 million on an interim basis and
840 million on a final basis; (b) approval of the Critical Vendor Program, including (i) with
respect to a Critical Vendor’s postpetition claim, the granting of the Second Lien (defined below)
securing the full amount of the postpetition credit extended by the Critical Vendor to the

Debtors; and (ii) with respect to the Critical Vendor’s prepetition claims, the granting of the

DOCS_DE:220490. 13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 6 of 24

Third Lien (defined below) securing the lesser of (A) the full amount of postpetition credit
advanced by the Critical Vendor or (B) 60% of the amount of the Critical Vendor’s prepetition
claim; (c) approving the form of the Critical Vendor Agreement; (d) authorizing financial
institutions to honor and process checks or electronic transfers used by the Debtors to pay the
foregoing, to the extent necessary; (e) scheduling a final hearing on the Motion; and (f) granting
any additional relief as is necessary to effectuate the foregoing
Summar\,7 of Critical Vendor Program

9. Set forth below is a general summary of the major terms of the Critical
Vendor Program:

a. Amount and Availabilitv. The Debtors seek authority obtain credit
from the Critical Vendors on 120-day terms in accordance with customary prepetition business
practices, as may be modified, that would be used to fund the Debtors’ operations during these
Chapter 11 Cases. The Debtors seek postpetition credit funded by the Critical Vendors up to an
aggregate amount to $15 million on an interim basis and 840 million on a final basis, which will
be used for working capital and general corporate requirements under the Critical Vendor
Program.

b. Security and Ranking. Critical Vendors will provide credit to the
Debtors with at least 120-day terms. Each Critical Vendor shall receive: (a) a secured, junior and
subordinated second lien on the Debtors’ assets (a “Second Lien”) as security for the claim in
the amount of the agreed-upon cost of goods advanced postpetition by such Critical Vendor to

the Debtors (each, a “Second Lien Claim”), which lien is junior and subordinated in priority of

DOCS_DE;220490. 13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 7 of 24

payment on the goods provided by the Critical Vendor to (i) the senior secured claims of the
prepetition lenders as provided under (A) the Credz't Agree)nent dated as of December 28, 2016
(as amended, supplemented, or modified from time to time, by and among certain of the Debtors,
as borrowers, Encina Business Credit, LLC, as administrative agent, collateral agent and lender
and Israel Discount Bank of New York, as co-administrative agent and lender, and the other
lenders party thereto, (B) the Loan and Securz'ly Agree)nenl' dated as of June 15, 2016, as
amended, supplemented or modified from time to time, by and among certain of the Debtors, as
borrowers, Gordon Brothers Finance Company, as administrative agent and lender, and the other
lenders party thereto; and (C) the claims of the Debtors’ postpetition lenders (collectively, the
“DIP Lenders”), including any adequate protection liens or claims, provided under the Interz'ln
Order Pursuant To 11 U.S.C. §§ 105, 3 6], 3 62, 363, 3 64 And 507 (1) Granl‘ing Expedz`ted Relz'ef
(11) Approving Postpetz'tz'on Financing, (III) Granz‘z'ng Liens And Provl'ding Superpriorily
Ad)nz`nisl‘ralive Expense Status, (IV) Authorz`zing Use OfCash Collateral, (V) GrantingAdequate
Protection, (VI) Modi]j)z`ng Automatz`c Stay, And (VII) Granl‘z`ng Related Relz'ef, as may be
modified pursuant to any final order (the “DIP Order”); the Prepetition Permitted Liens (as
defined in the DIP Order); (iii) the Carve Out (as defined in the DIP Order); and (iv) without
duplication, any amounts to Imperial Capital, LLC in accordance with and pursuant to the terms
of any order approving its employment entered by the Court in these Chapter 11 Cases
(collectively, the claims listed in (i) and (iv) of this paragraph, the “Senior Secured Claims”);
a_n_€_l (b) a secured junior and subordinated third lien on the Debtors’ assets (a “Third Lien”.)

securing the claim in the amount of a portion of the Critical Vendor’s prepetition claim on

DOCSHDE;220490. 13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 8 of 24

account to the goods already provided to the Debtors (each, a “Third Lien Claim”), which claim
would be junior and subordinated in payment priority after payment of (i) the allowed Senior
Secured Claims; and (ii) the allowed Second Lien Claims. The amount of Third Lien Claim
shall equal to the lower of: (i) the full amount of new credit advanced postpetition by such
Critical Vendor to the Debtors or (ii) 60% of the amount of such Critical Vendor’s prepetition
claim. The Second Lien Claims and Third Lien Claims are collectively referred to herein as the
“Critical Vendor Claims”). The Second Lien and the Third Lien are collectively referred to
herein as the “Critical Vendor Liens.”

c. Term and Repayment. A subordinated loan and security
agreement included in the agreement with the Critical Vendors and set forth substantially in the
form of Exhibit C hereto (the “Critical Vendor Agreement”). Postpetition Critical Vendor
Claims would be paid in accordance with the 120-day trade term arrangements agreed with the
applicable Critical Vendor. The prepetition portion of the Critical Vendor Claims would be
payable over forty-eight (48) months with the first installment of the repayment of the Critical
Vendor Claims commencing on or about August `31, 2018, with each monthly payment budgeted
in the amount of $1.25 million.

d. _F_e_e_s_. None.

The Critical Vendors
10. The Critical Vendors’ continued support is vital to the Debtors’ ability to
continue to operate their business as a going concern and to maximize value for all creditors As

explained below, the Debtors require the funding to be provided under the Critical Vendor

DOCS_DE:220490413 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 9 of 24

Program to continue to operate as a going concern as they attempt to sell their assets or obtain a
restructuring transaction in chapter 11. lf the Debtors are unable to obtain the postpetition credit
from the Critical Vendors under this l\/lotion, they will be unable to continue to operate.

11. The Debtors are also pursuing a potential sale or restructuring of their
business with the support of a group of their Critical Vendors. The Critical Vendors have agreed
that, rather than requiring the Debtors to immediately pay for both goods already delivered
prepetition and goods to be delivered postpetition, the Debtors will defer the repayment of the
Critical Vendor Claims. For goods delivered postpetition, this means the Debtors will not to pay
for those goods until 120 days after delivery. For goods delivered prepetition, the Debtors will
only pay a portion of the prepetition claim as described above over a period of 48 months .

Thus, the Critical Vendor Program will allow the Debtors to use the cash derived from the sale of
the Critical Vendors’ prepetition and postpetition goods to fund their operations and provide
working capital rather than to use the cash for the immediate repayment of the Critical Vendor
Claims.

12. The Critical Vendor Program is crucial to the Debtors’ ability to continue
to fund their operations as they endeavor to maximize the value of these estates for all
stakeholders. The Debtors have an urgent and immediate need for cash to continue to operate and
effectuate the sale or restructuring of their business for the benefit of creditors Absent approval
of this l\/[otion, The Debtors will not be able to pay current and ongoing expenses
Consequently, the Debtors would suffer irreparable harm, thereby foreclosing any prospects for

success in these cases

DOCS_DE2220490. 13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 10 of 24

13. lf authorized to pay the Critical Vendor Claims, the Debtors will use
commercially reasonable efforts to require the applicable Critical Vendor to provide trade terms
as further described below and in the Critical Vendor Agreement (defined below). Therefore, the
Debtors request authority, but not the obligation, in their business judgment (subj ect to and in
accordance with any orders authorizing postpetition financing and the use of cash collateral and
the applicable budget thereunder), to condition payment on such Critical Vendor’s entry into an
agreement, substantially similar to the form of the letter attached as Exhibit C hereto (each a
“Critical Vendor Agreement”), (i) to verify the amount owing to the specific Critical Vendor as
of the Petition Date, (ii) to require the Critical Vendor to accept such payment terms in
satisfaction of all or a part of its claims; and (iii) to grant the Junior Liens more particularly
described in Paragraph 9(b) of this l\/lotion.

14. Specifically, the terms of the Critical Vendor Agreement generally will
provide as follows For those Critical Vendors willing to provide credit to the Debtors with at
least 120-day terms (documented through customary invoice procedures), such Critical Vendor
shall receive: (a) a Second Lien Claim in the amount of the agreed-upon cost of goods advanced
postpetition by such Critical Vendor to the Debtors, which claim is junior and subordinated in
priority of payment of the Senior Secured Claims; plus (b) a Third Lien Claim on account of the
Critical Vendor’s prepetition claim. The Third Lien Claim would be junior and subordinated in
payment priority on account of the goods provided by the Critical Vendor and satisfied only after
payment of (i) the allowed Senior Secured Claims; and (ii) the allowed Second Lien Claims of

Critical Vendors. The amount of Third Lien Claim shall equal to the lower of: (i) the full

10
DoCs_DE;220490.i3 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 11 of 24

amount of new credit advanced postpetition by such Critical Vendor to the Debtors or (ii) 60% of
the amount of such Critical Vendor’s prepetition claim. As noted above, payment of the
postpetition critical vendor claims would be due 120 days after delivery of the goods and the
portion of the prepetition claim payable under this l\/lotion would be payable over forty-eight

(48) months with the first payment of $1.25 million budgeted for payment to all Critical Vendors
on August 31, 2018.

15. The Debtors also request that all applicable banks and other financial
institutions be authorized to process and honor all checks presented for payment of Critical
Vendor Claims, and to honor all fund transfer requests made by the Debtors related to Critical
Vendor Claims, regardless of whether the checks were presented or fund transfer requests were
submitted before or after the Petition Date, provided that funds are available in the Debtors’
accounts to cover such checks and fund transfers ln addition, in an abundance of caution, the
Debtors request that the Court enter an order confirming that all banks and other financial
institutions are authorized to rely on the Debtors’ designation of any particular check as
approved by the attached Proposed Orders.

Basis for Relief Requested

I. The Court May Authorize Payment Terms for the Critical
Vendor Claims Pursuant to Section 363 of the Bankruptcy Code

16. The Court may authorize the Debtors to pay the Critical Vendor Claims
under Bankruptcy Code section 363(b). That section provides that “[t]he trustee, after notice and
a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b). Under this section, a court may authorize a debtor to pay certain

1 1
DoCs_DE;220490.13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 12 of 24

prepetition claims See In re lonosphere Clul)s, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989)
(finding that sound business justification existed to justify payment of certain claims); Ar)nstrong
World Indus., Inc. v. Jarnes A. Phillz`ps, Inc., (In re James A. th'llips, Inc.), 29 B.R. 391, 397
(S.D.N.Y. 1983) (authorizing contractor under section 363 to pay prepetition claims of some
suppliers who were potential lien claimants because payments were necessary for general
contractors to release funds owed to debtors); In re Hancock Fabrics, Inc. , No. 07-10353 (BLS)
(Bankr. D. Del. Apr. 13, 2007) (pursuant to section 363, authorizing payment of prepetition
claims to certain vendors deemed critical by debtors).

17. As detailed above, the funding to be advanced by the Critical Vendors is a
prerequisite to the Debtors’ ability to continue to operate their business and to the success of
these Chapter 11 Cases. The Debtors are also pursuing a potential restructuring of the business
that requires the support of the Critical Vendors. Accordingly, the Debtors submit that the
deferred repayment of the Critical Vendor Claims pales in comparison to the potential
irreparable harm to the Debtors’ business should the relief requested herein not be granted. ln
light of the foregoing, the Debtors submit that they have a sound business purpose to provide for

the payment terms for the Critical Vendor Claims.

Il. The Court May Also Grant the Motion Pursuant to Its Equitable Powers
Under Section 105(a) of the Bankruptcy7 Code and the Doctrine of Necessitv

18. Section 105(a) of the Bankruptcy Code authorizes the Court to issue “any
order, process, or judgment that is necessary or appropriate to carry out the provisions of [the
Bankruptcy Code].” 11 U.S.C. § 105(a). The purpose of section 105(a) is “to assure the

bankruptcy courts [sic] power to take whatever action is appropriate or necessary in aid of the

12
ooCs_DE;220490.13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 13 of 24

exercise of [its] jurisdiction.” 2 Henry J. Sommer & Alan N. Resnick, Collier on Bankruptcy

11 105.01 (16th ed. 2018). Under section 105(a) of the Bankruptcy Code, courts may permit pre-
plan payments of prepetition obligations when essential to the continued operation of a debtor’s
business See In re Justfor Feet, Inc., 242 B.R. 821, 825 (D. Del. 1999). The Debtors submit
that the relief requested in this l\/lotion is critical to the Debtors’ operations and is justified under
section 105(a) of the Bankruptcy Code.

19. l\/loreover, the relief requested in this l\/lotion is supported by the well-
established “doctrine of necessity.” The United States Court of Appeals for the Third Circuit
recognized the doctrine in In re Lehz`gh & New England Raz`lway Co., 657 F.2d 570, 581 (3d Cir.
1981). The Third Circuit held that a court could authorize the payment of prepetition claims if
such payment was essential to the continued operation of the debtor. See id, (stating courts may
authorize payment of prepetition claims when there “is the possibility that the creditor will
employ an immediate economic sanction, failing such payment”); see also In re Penn Central
Transp. Co., 467 F.2d 100, 102 n.l (3d Cir. 1972) (holding necessity-of-payment doctrine
permits “immediate payment of claims of creditors where those creditors will not supply services
or material essential to the conduct of the business until their pre-reorganization claims have
been paid”); Ojj”zcial Cornm. of Unsecured Creditors of Motor Coach Indas. Int’l v. Motor Coach
[ndas, Inl"l. (In re Motor Coach Int’l, Inc.), No. 09-078, 2009 U.S. Dist. LEXlS 10024, at *9 (D.
Del. Feb. 10, 2009) (reaffirming viability of doctrine of necessity in Third Circuit with respect to
payment of prepetition critical vendor claims); PBGC v. Sharon Sl‘eel Corp. (In re Sharon Sleel

Corp.), 159 B.R. 730, 736 (Bankr. W.D. Pa. 1993) (embracing “necessity of payment” doctrine

13
DOCS_DE:220490. 13 59942/001 `

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 14 of 24

and citing Leigh & New England Ry. Co. with approval); In re Columbz`a Gas Sys., lnc. , 171 B.R.
189, 191-92 (Bankr. D. Del. 1994) (same). The rationale in these cases applies to the Debtors’
efforts to continue their business and to preserve the attendant going-concern value for the
benefit of their stakeholders.

20. Allowing the Debtors to provide for payment terms on account of the
Critical Vendor Claims is especially appropriate where, as here, doing so is consistent with the
“two recognized policies” of chapter ll of the Bankruptcy Code_preserving going-concern
value and maximizing the value of property available to satisfy creditors See Bank ofAm. Nat ’l
Trast & Savs. Ass ’n v. 203 NLaSalle St. P ’shz`p, 526 U.S. 434, 453 (1999).

21. Courts in this district regularly grant relief similar to that which the
Debtors are seeking in this l\/lotion. See, e.g., In re Patrz`ot Nat’l, No. 18-10189 (KG) (Bankr. D.
Del. Feb. l, 2018); In re Trae Religion Apparel, No. 17-11460 (CSS) (Bankr. D. Del. July 31,
2017); In re CST ]ndustrz'es Holdz`ngs, No. 17-11292 (BLS) (Bankr. D. Del. June 13, 2017); In re
DirectBuy Holdz`ngs, No. 16-12435 (CSS) (Bankr. D. Del. Nov. 3, 2016); In re Verso Corp., No.
16-10163 (KG) (Bankr. D. Del. Jan. 27, 2016); In re SFXEnrerrainmenf, No. 16-10238 (MFW)
(Bankr. D. Del. l\/lar. 4, 2016);1n re Alz‘egrz`ty, Inc., No. 15-10226 (LSS) (Bankr. D. Del. Feb. 10,
2015). The Debtors respectfully submit that the requested relief is warranted in these Chapter 11
Cases because it is essential that they obtain the necessary funding under the Critical Vendor
Program. Without this funding, the Debtors will be simply unable to run their business and will

not be able to continue to operate under chapter 11.

14
oocs_i)E;220490.13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 15 of 24

III. The Court May Also Authorize the Relief Requested
as a Valid Exercise of the Debtors’ Fiduciai'v Duties

22. The Debtors, operating their businesses as debtors in possession pursuant
to sections 1107(a) and 1108 of the Bankruptcy Code, are fiduciaries “holding the bankruptcy
estate[s] and operating the business for the benefit of . . . [their] creditors and (if the value
justifies) equity owners.” In re CoServ, 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002). lmplicit in
the duties of a debtor in possession is the duty “to protect and preserve the estate, including an
operating business’s going-concern value.” Id.

23. lt has been noted that there are instances in which a debtor in possession
can fulfill its fiduciary duty “only . . . by the preplan satisfaction of a pre-petition claim.” Id.
The CoServ court specifically noted that preplan satisfaction of prepetition claims would be a
valid exercise of a debtor’s fiduciary duty when the payment “is the only means to effect a
substantial enhancement of the estate” and also when the payment was to “sole suppliers of a
given product.” Id. at 497-98. The court provided a three-pronged test for determining whether a
preplan payment on account of a prepetition claim was a valid exercise of a debtor’s fiduciary
duty:

First, it must be critical that the debtor deal with the claimant

Second, unless it deals with the claimant, the debtor risks the

probability of harm, or, alternatively, loss of economic advantage

to the estate or the debtor’s going concern value, which is

disproportionate to the amount of the claimant’s pre-petition claim.

Third, there is no practical or legal alternative by which the debtor
can deal with the claimant other than by payment of the claim.

Id. at 498.

15
Docs_DE;220490.13 59942/001 '

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 16 of 24

24. Payment of the Critical Vendor Claims on the terms described herein
meets the test set forth in CoServ. As described above, the Debtors, cannot operate without the
funding provided under the Motion by the Critical Vendors Finally, there exists no practical
available alternative to the Critical Vendor payment terms described herein, which is
extraordinary because the Critical Vendors are providing the Debtors with four months of trade

terms for postpetition purchases of goods

IV. The Debtors Should Be Permitted to Grant the Critical
Vendor Liens Pursuant to Sections 364(c) of the Bankruptcy Code

25. The credit extended by the Critical Vendors to the Debtors contemplated
under the Critical Vendor Program is authorized by section 364 of the Bankruptcy Code. Section
364(c) of the Bankruptcy Code requires a finding, made after notice and a hearing, that the
debtors seeking postpetition financing on a secured basis cannot “obtain unsecured credit
allowable under section 503(b)(1) of [the Bankruptcy Code] as an administrative expense.” ll
U.S.C. § 364(0). Section 364(c) also provides that the court may authorize the obtaining of
credit or the incurring of debt “secured by a lien on property of the estate that is not otherwise
subject to a lien,” or “secured by a junior lien on property of the estate that is subject to a lien.”
11 U.S.C. § 364(0)(2), (c)(3). Notably, the Debtors do not seek to prime any existing secured
debt because any liens granted to the Critical Vendors will be lunior Liens Moreover, in order
to obtain a Third Lien on a portion of the Critical Vendors’ prepetition claim, the Critical Vendor
must provide new credit by advancing postpetition credit on 120-day terms to the Debtors in

accordance with the Critical Vendor Program. Based on the fact that the Critical Vendor Liens

16
DOCS*DE:220490. 13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 17 of 24

will be Junior Liens, the Debtors’ prepetition lenders have also consented to the relief requested
under this Motion and the terms of the Critical Vendor Program.

26. ln evaluating proposed postpetition financing under section 364(c) of the
Bankruptcy Code, courts perform a qualitative analysis and generally consider similar factors,

including whether:

a. unencumbered credit or alternative financing without
superpriority status is available to the debtor;

b. the credit transactions are necessary to preserve assets of the
estate;

c. the terms of the credit agreement are fair, reasonable, and
adequate;

d. the proposed financing agreement was negotiated in good faith

and at arm’s length and entry thereto is an exercise of sound and
reasonable business judgment and in the best interest of the
debtors’ estate and its creditors; and

e. the proposed financing agreement adequately protects the
prepetition secured parties

See, e.g., ]n re Aqua Assoc., 123 B.R. 192, 195-96 (Bankr. E.D. Pa. 1991) (applying the first
three factors in making a determination under section 364(c)); In re Crouse Group, ]nc., 71 B.R.
544 (Bankr. E.D. Pa. 1987) (same); Bland v. Farrnworker Credz'tors, 308 B.R. 109, 113-14 (S.D.
Ga. 2003) (applying all factors in making a determination under section 364(d)).

27. For the reasons discussed herein, the Debtors satisfy the standards
required to incur the debt associated with the granting of Critical Vendor Liens under sections

364(c) Bankruptcy Code.

17
DOCS_DE;220490, 13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 18 of 24

A. The Proposed Terms for Critical Vendors, Including the Granting of Critical
Vendor Liens, Is Necessary to Maximize the Value of the Debtors’ Estates.

28. As more fully explained in the Bilbao Declaration, by providing credit to
the Debtors with at least 120-day terms, Critical Vendors will provide the Debtors with the
liquidity during these Chapter 11 Cases enable the Debtors to pursue dual paths of either a sale
or a restructuring of their business The Debtors have immediate need to the working capital that
would be provided under the Critical Vendor Pro gram in order to fund their operations Without
it, they cannot operate ln the absence of immediate access to cash and credit, the Debtors’

operations would cease.

B. Financing on More Favorable Terms With Critical Vendors Was
Unavailable.

29. The vast majority of the Debtors’ assets are already highly leveraged, and
the principal goal of these cases is to effectuate a going-concern sale of all or substantially all of
the Debtors’ assets or a restructuring Under current circumstances the Debtors were only able
to obtain the required long-term financing on extremely favorable terms from the Critical
Vendors No other alternative financing from other sources on better terms was available
Notably, this credit in the form of 120-day terms will provide Critical Vendors with Critical
Vendor Liens as only the Second Liens and the Third Liens, which are each subordinated and
junior to the Senior Secured Claims

30. The Debtors respectfully submit that their efforts to obtain postpetition
financing therefore satisfy the standard required under section 364(0) of the Bankruptcy Code.

See, e.g, In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988) (where few lenders

1 8
DoCspDi-:;220490. 13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 19' of 24

can or will extend the necessary credit to a debtor, “it would be unrealistic and unnecessary to

require [the debtor] to conduct such an exhaustive search for financing”).

C. The Terms of the Critical Vendor Liens Are Fair, Reasonable, and
Appropriate.

31. ln considering whether the terms of postpetition financing are fair and
reasonable, courts consider the terms in light of the relative circumstances of both the debtor and
the potential lender. In re Far)nland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. l\/lo. 2003);
See also [n re Ellz'ngsen MacLean Oz'l Co., 65 B.R. 358, 365 (W.D. Mich. 1986) (a debtor may
have to enter into hard bargains to acquire funds).

32. The terms of the Critical Vendor Agreement and granting of Critical
Vendor Liens, as described herein, were negotiated in good faith and at arm’s length between the
Debtors and the Critical Vendors The Critical Vendor Program is especially beneficial to the
Debtors because, aside from providing the necessary working capital to fund their cases,
repayment of the Critical Vendor Claims would be deferred Thus, the Debtors are able to apply
the cash derived from the sale of the goods provided by the Critical Vendors to fund their chapter
11 cases and delay repayment the Critical Vendor Claims instead of being forced to deplete cash
reserves through immediate payment these claims

33. As noted above, by virtue of the Junior Liens, the Critical Vendor Claims
will be junior to the Senior Secured Claims The proposed terms are fair, reasonable, and
appropriate under the circumstances and should be approved. See, e.g. , Bray v. Slzenandoah
Fed. Sav. & Loan Ass ’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986) (stating that

section 364(d) of the Bankruptcy Code imposes no duty to seek credit from every possible

19
DOCS_DE:220490.13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 20 of 24

lender); In re Wesl'ern Paci`fic Az`rlines, Inc., 223 B.R. 567 (Bankr. D. Colo. 1997) (authorizing

postpetition financing that would preserve the value of the debtor’s assets).

D. Entry Into the Critical Vendor Agreements and Granting of the Critical
Vendor Liens Reflects the Debtors’ Sound Business Judgment.

34. A debtor’s decision to enter into a postpetition lending facility under
section 364 of the Bankruptcy Code is governed by the business judgment standard See, e.g.,
Trans WorldAz`rlz'nes, Inc. v. Travelers Int’l AG (In re Trans World/lirlines, Inc.), 163 B.R. 964,
974 (Bankr. D. Del. 1994) (approving postpetition credit facility because such facility
“reflect[ed] sound and prudent business judgment”); In re A)nes Dep ’t Stores, lnc. , 115 B.R. 34,
38 (Bankr. S.D.N.Y. 1990) (financing decisions under section 364 of the Bankruptcy Code must
reflect a debtor’s business judgment).

35. Bankruptcy courts routinely accept a debtor’s business judgment on many
business decisions, including the decision to borrow money. See, e. g., Group of Insl. ]nvestors v.
Chz`cago, Mil., St. P. & Pac., 318 U.S. 523, 550 (1943) (holding that decisions regarding
assumption or rejection of leases are left to the business judgment of the debtor); In re Sirnasko
.Prod. Co., 47 B.R. 444, 449 (D. Colo. 1985) (“[blusiness judgments should be left to the board
room and not to this Court”). Further, one court has noted that “[m]ore exacting scrutiny
[of the debtors’ business decisions] would slow the administration of the debtor’s estate and
increase its cost, interfere with the Bankruptcy Code’s provision for private control of
administration of the estate, and threaten the court’s ability to control a case impartially.”

RichmondLeaSz`ng Co. v. Capz`tal Bank, 762 F.2d 1303, 1311 (5th Cir. 1985).

20
DOCS_DE:220490. 13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 21 of 24

36. Bankruptcy courts generally will defer to a debtor in possession’s business
judgment regarding the need for and the proposed use of funds, unless such decision is arbitrary
and capricious, In re Curlew Valley Assocs., 14 B.R. 506, 511-13 (Bankr. D. Utah 1981); see
also Trans World Az'rlz`nes, lnc., 163 B.R. at 974 (approving interim loan, receivables facility and
asset-based facility based upon prudent business judgment of the debtor), and generally will not
second-guess a debtor in possession’s business decisions involving “a business judgment made
in good faith, upon a reasonable basis, and within the scope of his authority under the Code.”
Carlew Valley, 14 B.R. at 513-14 (footnotes omitted).

37. For the reasons set forth above, the Debtors’ sound business judgment
clearly supports approval of the Motion and entry into Critical Vendor Agreements, including the
granting of Critical Vendor Liens, in order to allow the Debtors to gain access to the required
financing and thereby maximize value for all constituents

Bankruptcy Rule 6003 Is Satisf`ied and Request for Waiver of Stav

38. The Debtors further submit that because the relief requested in this l\/lotion
is necessary to avoid immediate and irreparable harm to the Debtors for the reasons set forth
herein and in the Kroll Declaration and Bilbao Declaration, Bankruptcy Rule 6003 has been
satisfied and the relief requested herein should be granted.

39. Specifically, Bankruptcy Rule 6003 provides as follows:

Except to the extent that relief is necessary to avoid immediate and

irreparable harm, the court shall not, within 21 days after the filing

of the petition, issue an order granting the following: . . . (b) a

motion to use, sell, lease, or otherwise incur an obligation
regarding property of the estate, including a motion to pay all or

21
Docs_DE:220490` 13 59942/001

Case 18-11801-LSS Doc 9 Filed 0'8/06/18 Page 22 of 24

part of a claim that arose before the filing of the petition, but not a
motion under Rule 4001 . . . .

Fed. R. Bankr. P. 6003.

40. The Third Circuit Court of Appeals has interpreted the “immediate and
irreparable harm’7 language in the context of preliminary injunctions ln that context, irreparable
harm has been interpreted as a continuing harm that cannot be adequately redressed by final
relief on the merits and for which money damages cannot provide adequate compensation See,
e.g., Norfolk S. Ry. Co. v, Cily of Pittsl)urgh, 235 F. App’x 907, 910 (3d Cir. 2007) (citing
Glasco v. Hz'lls, 558 F.2d 179, 181 (3d Cir. 1977)). Further, the harm must be shown to be actual
and imminent, not speculative or unsubstantiated See, e.g., Acz'erno v. New Caslle Cly., 40 F.3d
645, 653-55 (3d Cir. 1994).

41. The Debtors further seek a waiver of any stay of the effectiveness of the
order approving this Motion. Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the
use, sale, or lease of property other than cash collateral is stayed until the expiration of 14 days
after entry of the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). As set
forth above, the relief requested herein is essential to prevent irreparable damage to the Debtors’
operations and going-concern value

42. Accordingly, the relief requested herein is appropriate under the
circumstances and under Bankruptcy Rules 6003 and 6004(h).

Final Hcaring
43. Pursuant to Bankruptcy Rule 4001(0), a final hearing on this l\/lotion to

grant the relief requested under section 364 of the Bankruptcy Code may not be commenced

22
DOCSMDE:220490. 13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 23 of 24

until earlier than fourteen days after the service of such motion. Upon request, however, a
bankruptcy court is empowered to conduct a preliminary expedited hearing on such motion and
authorize the obtaining of credit and use of cash collateral to the extent necessary to avoid
immediate and irreparable harm to the Debtors’ estates See Fed. R. Bankr. P. 4001(0)(2). The
Debtors request that the Court conduct an expedited hearing on the Motion prior to the final
hearing and schedule a final hearing at the earliest possible date in accordance with Bankruptcy
Rule 4001(c) to authorize the relief requested in the Motion on a final basis
_N..Qt_i_€_e

44. Notice of this Motion and any order entered hereon will be provided to:
(i) the Office of the United States Trustee; (ii) each of the Debtors’ thirty largest unsecured
creditors on a consolidated basis', (iii) counsel for Encina Business Credit, LLC, as
Administrative Agent and Collateral Agent, one of the Debtors’ prepetition secured lenders; (iv)
counsel for Gordon Brothers Finance Company, as Administrative Agent, one of the Debtors’
prepetition secured lenders; (v) counsel for lsrael Discount Bank of New York, as co-
administrative agent and one of the Debtors’ prepetition secured lenders; (vi) counsel to l\/lichael
Fallas; and (vii) any other party entitled to notice pursuant to Local Rule 9013-1(m). The
Debtors submit that no other or further notice is necessary under the circumstances

No Previous Reguest
45. No prior request for the relief sought in this Motion has been made to this

or any other court.

23
Docswoi-:;220490. 13 59942/001

Case 18-11801-LSS Doc 9 Filed 08/06/18 Page 24 of 24

WHEREFORE, Debtors respectfully request that this Court enter an order

granting the relief requested herein and granting such other and further relief as is just and

proper.

Dated: August 6, 2018
Wilmington, Delaware

DOCS_DE:220490. 13 59942/001

PACHULSKI STANG ZIE._y L & JONES LLP

Richard`l\/l. Pachul(sl{i (pro hac pending)
Peter J. Keane (DE Bar No. 5503)

919 North l\/larket Street, 17th Floor
P.O. Box 8705

Wilmington, DE 19899 (Courier 19801)
Telephone: (302) 652-4100

Facsimile: (302) 652-4400
rpachulski@pszjlaw.com
pkeane@pszjlaw.com

 

-and-

KATTEN MUCHIN ROSENMAN LLP
William Freeman (pro hac pending)
Karen Dine (pro hac pending)

Jerry Hall (pro hac pending)

575 Madison Avenue

New York, NY 10022

Telephone: (202) 940-8800
Facsimile: (202) 940-8776
bill.freeman@kattenlaw.com
karen.dine@kattenlaw.com
jerry.hall@kattenlaw.com

Proposed Az‘z‘orneysfor Debtors
and Debtors in Possessz`on

24

